     Case
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           15-28029-JNP Doc
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-2(c)
John W. Hargrave, Esquire
John W. Hargrave & Associates
117 Clements Bridge Road                                                        Order Filed on December 22,
Barrington, NJ 08007                                                           2016 by Clerk U.S. Bankruptcy
                                                                                Court District of New Jersey
856-547-6500 (phone)
Atty for John W. Hargrave, Trustee


In Re:                                                      Case No.: 15-28029/JNP

LINDA M. KITTS                                              Adv. No.:

                                                            Hearing Date:

                                                            Judge: Jerrold N. Poslusny


                 ORDER AUTHORIZING JOHN W. HARGRAVE, CHAPTER 7 TRUSTE,
                       TO SELL DEBTOR’S REAL PROPERTY LOCATED AT
                   214 HADDON AVENUE, COLLINGSWOOD, NEW JERSEY 08108


         The relief set forth on the following pages, numbered two (2) through two (2) is
         hereby ORDERED.




          DATED: December 22, 2016
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                                                                22of 2
Case No.:           15-28029/JNP
Debtor’s Name:      Linda M. Kitts
Caption of Order:   Order Authorizing the Chapter 7 Trustee to sell Debtor’s Real Property
                    located at 214 Haddon Avenue, Collingswood, NJ




        This matter comes before the Court by way of motion of John W. Hargrave, Chapter 7 Trustee, on
notice to all creditors, and the Court having reviewed and found the methods of service proper and that
adequate notice of the within motion was provided to these parties in interest. For good cause shown by the
Chapter 7 Trustee, it is hereby ORDERED:


   1.          John W. Hargrave, Chapter 7 Trustee (‘the Trustee’) is hereby authorized to sell Debtor’s Real
        Property located at 214 Haddon Avenue, Collingswood, New Jersey 08108, on the terms and conditions
        set forth in the Contract of Sale provided to the Court, pursuant to 11 U.S.C. §363(b). The sale of
        Debtor’s Real Property located at 214 Haddon Avenue, Collingswood, New Jersey 08108 is
        APPROVED.

   2. The Debtor’s Real Property located at 214 Haddon Avenue, Collingswood, New Jersey 08108, is sold
        free and clear of liens and encumbrances, with the liens to attach to the proceeds of the sale.

   3.   Professional fees in the amount of $6,000.00 are hereby APPROVED for Berkshire Hathaway Home
        Services and the Trustee is authorized to pay these fees upon clearance of sale proceeds.
